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                               UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF INDIANA
                                   SOUTH BEND DIVISION
  DAIMEON MOSLEY,                                    )
                                                     )
           Plaintiff,                                )
                                                     )
           v.                                        )   Case No. 3:17-CV-924 JD
                                                     )
  KOHL’S DEPARTMENT STORES INC.                      )
  d/b/a KOHL’S,                                      )
                                                     )
           Defendant.                                )


                                                 ORDER
        The parties notified the Court on February 13, 2018, that they reached an agreement in

principal to settle this case. [DE 12] Plaintiff subsequently filed a Notice of Voluntary Dismissal

with Prejudice on March 14, 2018 [DE 14], relying on Fed. R. Civ. P. 41(a)(1)(A)(i). To date,

Defendant has filed neither an answer to the complaint, nor a motion for summary judgment, and

so the Court hereby DISMISSES this matter, with prejudice.1

        SO ORDERED.

        ENTERED: March 16, 2018

                                                                   /s/ JON E. DEGUILIO
                                                          Judge
                                                          United States District Court




                                                            
1
   Defendant filed a Motion to Dismiss Plaintiff’s complaint for lack of jurisdiction [DE 4], but that motion
does not rely on external documents such that it would necessarily be converted into a one for summary
judgment, which would preclude Plaintiff’s voluntary dismissal under Rule 41(a)(1)(A)(i). See Madsen v.
Park City, 6 F. Supp. 2d 938, 943 (N.D. Ill. 1998) (A motion to dismiss is not considered to be an answer
or summary judgment motion that precludes application of Rule 41(a)(1)(A)(i) unless it relies on outside
documents such that it is actually a summary judgment motion.).
